Case 1:18-cv-01599-MN Document 1-6 Filed 10/16/18 Page 1 of 9 PageID #: 143




                 EXHIBIT F
                                                                              Case 1:18-cv-01599-MN Document 1-6 Filed 10/16/18 Page 2 of 9 PageID #: 144


                                                                                                                               VITALBEAM                   Treatment System




  USA, Corporate Headquarters and Manufacturer
  California                     Tel: 650.493.4000             varian.com/vitalbeam
  Varian Medical Systems              800.544.4636
  Palo Alto, CA                  Fax: 650.493.5637




  USA Regional Offices           EMEIA and CIS                  France                          Italy                         South Africa                   Asia Paciﬁc
  California                     Headquarters                   Varian Medical Systems          Varian Medical Systems        Varian Medical Systems         Headquarters
  Varian Medical Systems         Switzerland                    France                          Italia Spa                    Africa (Pty) Ltd.              Hong Kong
  Corona, CA                     Varian Medical Systems         Buc, France                     Cernusco sul                  Cape Town, South Africa        Varian Medical Systems
  Tel: 951.280.4401              International AG               Tel: 33.1.30.83.83.83           Naviglio (MI), Italy          Tel: 27.21.680.5276            Paciﬁc, Inc.
                                 Cham, Switzerland                                              Tel: 39.02.921.351                                           Kowloon, Hong Kong
  Georgia                        Tel: 41.41.749.88.44           Germany                                                       Spain/Portugal                 Tel: 852.2724.2836
  Varian Medical Systems                                        Varian Medical Systems          The Netherlands               Varian Medical Systems
  Marietta, GA                   Algeria                        Deutschland GmbH                Varian Medical Systems        Ibérica, S.L.                  China
  Tel: 770.955.1367              Varian Medical Systems         Darmstadt, Germany              Nederland B.V.                Alcobendas (Madrid), Spain     Varian Medical Systems
                                 Algeria Spa                    Tel: 49.61.51.73.13.300         Houten, The Netherlands       Tel: 34.91.33.44.800           China Co. Ltd.
                                 Algiers, Algeria                                               Tel: 31.30.634.0506                                          Beijing, China
                                                                Hungary                                                       United Arab Emirates           Tel: 86.10.8785.8785
                                 Austria                        Varian Medical Systems          Russia                        Varian Medical Systems
                                 Varian Medical Systems         Hungary Kft.                    Varian Medical Systems        International AG            Japan
                                 Gesellschaft m.b.H.            Budapest, Hungary               (RUS) LLC                     Dubai, United Arab Emirates Varian Medical Systems K.K.
                                 Brunn am Gebirge, Austria      Tel: 36.1.501.2600              Moscow, Russia                Tel: 971.4.279.0600         Chuo-ku, Tokyo, Japan
                                 Tel: 43.2236.377.196                                           Tel: 7.495.604.44.23/24                                   Tel: 81.3.4486.5010
                                                                India                                                         United Kingdom/Ireland
                                 Belgium                        Varian Medical Systems          Saudi Arabia                  Varian Medical Systems      Australasian Headquarters
                                 Varian Medical Systems         International India Pvt. Ltd.   Varian Medical Systems        UK Ltd.
                                                                                                                                                          Australia
                                 Belgium N.V./S.A.              Mumbai, India                   Arabia Commercial Ltd.        Crawley, UK
                                                                                                                                                          Varian Medical Systems
                                 Diegem, Belgium                Tel: 91.22.6785.2252            Riyadh, Saudi Arabia          Tel: 44.1293.601.200
                                                                                                                                                          Australasia Pty Ltd.
                                 Tel: 32.2.720.10.08                                            Tel: 966.11.511.7070                                      Sydney, Australia
                                                                Varian Medical Systems                                                                    Tel: 61.2.9485.0111
                                 Finland                        International India Pvt. Ltd. Scandinavia
                                 Varian Medical Systems         Chennai Branch, India         Varian Medical Systems                                         Latin American Headquarters
                                 Finland Oy                     Tel: 91.44.4900.5000          Scandinavia A/S
                                                                                                                                                             Brazil
                                 Helsinki, Finland                                            Herlev, Denmark
                                                                                                                                                             Varian Medical Systems
                                 Tel: 358.9.430.771             Varian Medical Systems        Tel: 45.44.500.100
                                                                                                                                                             Brasil Ltda.
                                                                International India Pvt. Ltd.
                                                                                                                                                             São Paulo, Brazil
                                                                Delhi Branch, India
                                                                                                                                                             Tel: 55.11.3457.2655
                                                                Tel: 91.11.3019.4403




Devices or features presented in this brochure may not be available for sale in all markets.


Intended Use Summary
Varian Medical Systems’ linear accelerators are intended to provide stereotactic radiosurgery and precision radiotherapy for lesions, tumors, and conditions anywhere in
the body where radiation treatment is indicated.

Safety
Radiation treatments may cause side effects that can vary depending on the part of the body being treated. The most frequent ones are typically temporary and may
include, but are not limited to, irritation to the respiratory, digestive, urinary or reproductive systems, fatigue, nausea, skin irritation, and hair loss. In some patients, they
can be severe. Treatment sessions may vary in complexity and time. Radiation treatment is not appropriate for all cancers.

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Eclipse are trademarks of Varian Medical Systems, Inc. The names of other companies and products mentioned herein are used for identiﬁcation purposes only and may be trademarks
or registered trademarks of their respective owners.

RAD 10397                                                                                                                                                               4/2016 (2.5M)
Case 1:18-cv-01599-MN Document 1-6 Filed 10/16/18 Page 3 of 9 PageID #: 145




                                           EXCEPTIONAL TECHNOLOGY
                                           IS A MAINSTAY FOR
                                           EVERY CLINIC

                                           The VitalBeam system brings
                                                                     TM
                                                                                                  VitalBeam is also the ideal radiotherapy platform
                                                                                                  for smaller centers. As the daily anchor of your
                                           advances and innovation to                             radiotherapy practice, the VitalBeam system can
                                           every radiation oncology clinic.                       help you achieve the precision, quality, and safety
                                                                                                  of treatment that is available in the largest and most
                                           Using the same technology platform as the              prestigious cancer centers in the world. Your staff
                                           TrueBeam® system, VitalBeam can be designed            can have the pride and conﬁdence in working with
                                           and conﬁgured for the cases you treat the most.        VitalBeam, knowing that they are offering patients
                                           Its ﬂexibility and speed make it a valuable addition   care that is truly world-class.
                                           to centers of any size.
                                                                                                  With the addition of VitalBeam to its powerful array
                                           In large radiation oncology practices and networks,    of linac platforms, Varian Medical Systems can help
                                           VitalBeam ﬁts seamlessly and harmoniously into         position your clinic at the forefront of cancer care.
                                           the workﬂow, creating a single, uniﬁed clinical
                                           environment that enhances efficiency, productivity
                                           and safety.
                              Case 1:18-cv-01599-MN Document 1-6 Filed 10/16/18 Page 4 of 9 PageID #: 146




CONFIDENCE BUILT ON                                                                          Integrated imaging and delivery
                                                                                             for advanced treatments
PERFORMANCE AND                                                                              The VitalBeam system integrates respiratory

PRECISION
                                                                                             gating, imaging and treatment delivery to create
                                                                                             a streamlined system. With this integration, you
                                                                                             could deliver complex treatments using advanced
                                                                                             radiotherapy techniques, including IMRT and
Medicine does not advance           Innovative beam generation                               RapidArc® radiotherapy technology in a routine
                                    for exceptional performance                              treatment session.
on its own. We combined
                                    VitalBeam shares the TrueBeam platform’s unique,         Increase conﬁdence in your delivery by taking
innovative technology with
                                    patented beam generation technology. It can be           advantage of VitalBeam’s high quality imaging
customer insights to arrive at      conﬁgured with up to three photon and six electron       capabilities. Intelligent automation and seamless
this intelligent solution for the   energies for optimal treatment of a variety of cases.    integration minimize additional time for imaging.
wide spectrum of cases you          It offers High-Intensity Mode (Flattening Filter Free)   Respiratory gating allows you to monitor patient
                                    technology for faster treatments of complex cases.       breathing and compensate for tumor motion while
encounter every day.
                                                                                             efficiently delivering treatment.

                                                                                             With such a supportive system, you can image and
                                                                                             treat with conﬁdence.
Case 1:18-cv-01599-MN Document 1-6 Filed 10/16/18 Page 5 of 9 PageID #: 147




                                           TAKING INTEGRATION
                                           TO THE NEXT LEVEL

                                           The impressive standard of                             Putting the ﬂow in workﬂow
                                           integration demonstrated by                            VitalBeam integrates with the ARIA® oncology
                                           VitalBeam has the power to                             information system and the Eclipse™ treatment
                                                                                                  planning system to simplify planning and manage
                                           elevate your clinical practice.
                                                                                                  treatment workﬂows. You can save time and
                                                                                                  condense tasks with automated, customizable
                                                                                                  sequences.
                                           Innovative control for speed and efficiency
                                                                                                  A uniﬁed clinical environment
                                           The Maestro control system from the TrueBeam
                                           platform lies at the heart of the VitalBeam system’s   In the Varian clinical environment, delivering quality
                                           advanced performance. It conducts the system by        care becomes intuitive, seamless, and natural. As
                                           directing, synchronizing and monitoring all of the     treatment techniques become more complex, the
                                           system’s fully integrated, functional components       integration and simplicity intrinsic to VitalBeam
                                           or “nodes.” Maestro’s sophisticated orchestration      create efficiency and conﬁdence.
                                           of dose, motion and imaging integrates all of the
                                           system’s moving parts, making treatment fast
                                           and efficient.
Case 1:18-cv-01599-MN Document 1-6 Filed 10/16/18 Page 6 of 9 PageID #: 148




                                           SUPPORT ALWAYS AT YOUR SIDE

                                           Safety that is second nature

                                           The visual cues built into the VitalBeam system provide
                                           an intuitive operating environment and can help to
                                           enhance safety as well as reduce operation times.

                                           For instance, buttons on the controls light up in the
                                           correct order to guide the operator through each step.
                                           Built-in layers of safety have been added throughout
                                           the system, including functions to help avoid issues
                                           before they occur. As an added safeguard, the system
                                           automatically performs accuracy checks every ten
                                           milliseconds, throughout the entire treatment. At the
                                           control console, you can visually monitor your patient    Adjust and collaborate remotely
                                           using the LiveView CCTV system. With these design
                                           improvements, therapists can focus their attention on     Without making a trip to your site, Varian experts
                                           the patient.                                              can help you adjust and calibrate your machine.
                                                                                                     They can view remotely the effect of adjustments
                                                                                                     made locally and provide immediate feedback.
                                           Machine Performance Check
                                                                                                     Adjustments are accomplished faster and clinical
                                           Machine Performance Check (MPC) is an integrated          availability may be increased.
                                           self-check tool that takes advantage of the advanced
                                           automation and intelligence of your VitalBeam             Upgrade software and features
                                           system. It is designed for fast and reliable daily
                                           system testing, before patient treatments begin.          SmartConnect gives you fast access to upgrades,
                                           The machine checks are usually performed in less          which can be installed remotely with minimal
                                           than ﬁve minutes by the operator.                         downtime and help you stay at the forefront of
                                                                                                     radiotherapy technology.

                                           Remote connection for faster support

                                           The VitalBeam was built with service in mind. Its
                                           integration with Varian SmartConnect® technology
                                           allows for more efficient remote support and
                                           diagnosis of issues. The result is faster response,
                                           less downtime and a quicker return to availability.

                                           VitalBeam includes additional built-in features to
                                           help Varian support your clinic efficiently.
                                             Case 1:18-cv-01599-MN Document 1-6 Filed 10/16/18 Page 7 of 9 PageID #: 149




VERSATILE TECHNOLOGIES.
VERSATILE TREATMENTS.

A breadth of technology provides versatility for treatments
throughout the body. The VitalBeam system addresses a diverse
range of complex clinical cases such as those in the head and neck,
breast, lung, pelvis and more.




Head and Neck                                           Breast                                                    Lung                                                      Prostate
• Multiple arcs, partial arcs or a combination can be   • IMRT tools such as ﬁeld-in-ﬁeld help create             • Respiratory gating allows the reduction of irradiated   • Deliver treatment with speed and accuracy using
  planned and seamlessly delivered using RapidArc         treatment plans designed to minimize radiation            volumes when compared with large ITV-based                RapidArc radiotherapy technology and the
  radiotherapy technology                                 exposure of the heart and healthy lung tissue             approaches1                                               Eclipse™ treatment planning system

• A range of diagnostic imaging studies can be          • Treat patients in the prone position using the          • Fluoroscopic, kV, MV imaging and CBCT along with        • Using Smart Segmentation® knowledge-based
  introduced in treatment planning to assist in           Pivotal™ treatment solution for prone breast care to      the capability to mix and match from the menu             contouring, physicians can take advantage of
  accurate contouring of the target                       help minimize dose to critical structures such as the     of imaging possibilities allows clinicians to tailor      built-in expert cases or create their own cases to
                                                          heart and lung                                            treatment delivery                                        standardize treatment across the institution
• The real-time control system synchronizes and
  choreographs all elements of delivery 100 times       • Integration of technologies such as real-time           • To reduce discrepancies between planned dose
  per second                                              beam gating can allow deep inspiration breath             and delivered dose, Varian’s Acuros® XB algorithm
                                                          hold techniques to minimize dose to critical              provides Monte Carlo equivalent dose calculations
• Imaging hardware and software allow capture of          structures
  high-quality cone-beam CT images with lower                                                                     • Contour propagation, intermediate dose calculation
  concomitant dose                                                                                                  and a ﬁne calculation grid all contribute to create
                                                                                                                    an efficient and optimized treatment plan
• Integration of SmartAdapt™ deformable
  registration algorithms provide a convenient
  means for clinicians to account for anatomical
  changes during the course of treatment                                                                             1
                                                                                                                         Data on ﬁle
                             Case 1:18-cv-01599-MN Document 1-6 Filed 10/16/18 Page 8 of 9 PageID #: 150




YOUR SYSTEM.
YOUR WAY.

The VitalBeam system is
built to help you grow.
It is a highly customizable
treatment platform. You can
add capabilities and expand
your offerings in step with your
clinical and business goals.




MV only system:                                Customizing your system:                                    kV imaging sys
                                                                                                                      system:
• 2D MV imaging using the                      RapidArc                     High-Intensity Mode            • 2D kV imaging or 3D
  43x43cm2 digital imager
                     ager                      • Complex cases can be                                        imaging using ccone
                                                                            • Faster treatment delivery
  to position the patientt                       treated more efficiently                                               visualize
                                                                                                             beam CT to vis
                                                                              through Flattening Filter
  based on bony anatomy
                     my                                                                                               anatomy and
                                                                                                             internal anatom
                                                                              Free (FFF) technology
                                               Respiratory Gating                                            position the patient
                                                                                                                          pa
• An optional 2.5MV
                                                                                                             accurately
  imaging beam brings                          • Monitor breathing
  a higher contrast                              and compensate for
  and lower dose than                            tumor motion
  traditional MV imaging
                       g
  techniques
                        Case 1:18-cv-01599-MN Document 1-6 Filed 10/16/18 Page 9 of 9 PageID #: 151




BROADEN YOUR FUTURE
IN CANCER CARE

With VitalBeam, you can make your mark in cancer
treatment. You can have improved workﬂow and clinical
processes, plus the technology to enable precise
treatments that take only minutes. Take a step forward
and prepare for the future in cancer care.
With VitalBeam, your clinic is ready.
